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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

LARRY GAMES                                      }
                                                 }
       Plaintiff,                                }             3:17-cv-00626-TBR
                                                 }
v.                                               }
                                                 }
TRANS UNION, LLC, et al.                         }
                                                 }
       Defendant.                                }


                              NOTICE OF SETTLEMENT


       Please take notice that the parties, by agreement, have resolved their differences. The

Plaintiff, Larry Games, requests that all deadlines herein be continued for a period of 45 days to

allow for the parties to file an agreed order of dismissal upon consummation of their settlement.

                                                 Respectfully submitted,

                                                 TAYLOR COUCH PLLC

                                                 /s/ Zachary L. Taylor
                                                 Zachary L. Taylor
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                                                 (502) 625-5000
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                                                 Counsel for Plaintiff
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                             CERTIFICATE OF SERVICE

       It is hereby certified a true and correct copy hereof will be sent electronically via the
Court's ECF-CM filing system to all counsel of record on this the 31st day of January, 2019

                                                /s/ Zachary L. Taylor
                                                ZACHARY L. TAYLOR




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